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                                                        United States District Court
                                                       Western District of Washington




BUNGIE, INC.                                                                         Case Number: 2:21-cv-01112

 Plaintiff(s)                                                                        APPLICATION FOR LEAVE TO APPEAR
                                                                                     PRO HAC VICE
 V.
ELITE BOSS TECH INCORPORATED, 11020781 CANADA INC., DANIEL FAGERBERG LARSEN,
ROBERT JAMES DUTHIE NELSON, JOHN DOE NO. 1 A/K/A “SLYTIGER” A/K/A ARTHUR S.
ADERHOLT, JOHN DOE NO. 2 A/K/A “BADGER,” JOHN DOE NO. 3 A/K/A “LUZYPHER,” JOHN DOE
NO. 4 A/K/A “GOODMAN,” JOHN DOE NO. 5 A/K/A “YIMOSECAI,” JOHN DOE NO. 6 A/K/A
“RIDDELL,” JOHN DOE NO. 7 A/K/A “PISKUBI93,” AND JOHN DOES NO. 8-20,



 Defendant(s)

Pursuant to LCR 83.1(d) of the United States District Court for the Western District of Washington,
Akiva M. Cohen                                                           hereby applies for permission to appear and participate as
counsel in the above entitled action on behalf of the following party or parties:
 Bungie, Inc.


The particular need for my appearance and participation is:

Bungie has retained my firm, and me as lead counsel, in the above captioned action.




I, Akiva M. Cohen                                                       understand that I am charged with knowing and complying with
all applicable local rules;

I have not been disbarred or formally censured by a court of record or by a state bar association; and there are
not disciplinary proceedings against me.

I declare under penalty of perjury that the foregoing is true and correct.



Date: 8/18/2021
                                                                                                    Akiva M. Cohen
                                                                       Signature of Applicant: s/


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Pro Hac Vice Attorney

Applicant's Name:                  Akiva M. Cohen
                                   Kamerman, Uncyk, Soniker & Klein P.C.
Law Firm Name:
                                   1700 Broadway
Street Address 1:
                                   16th Floor
Address Line 2:

City: New     York                                     State: NY            Zip:   10019
Phone Number w/ Area Code 212-400-4930                            Bar #    4328969           State   NY
Primary E-mail Address: acohen@kusklaw.com
(Primary E-Mail address must be for the Pro Hac attorney and not any subordinate or staff member)

Secondary E-mail Address:       ktewson@kusklaw.com


                                       STATEMENT OF LOCAL COUNSEL

I am authorized and will be prepared to handle this matter, including trial, in the event the
applicant Akiva M. Cohen                                           is unable to be present upon any date
assigned by the court.
                                                                     Brian W. Esler
Date: 8/18/2021                   Signature of Local Counsel: s/

Local Counsel's Name:              Brian W. Esler
                                   Miller Nash LLP
Law Firm Name:
                                   Pier 70
Street Address 1:
                                   2801 Alaskan Way, Suite 300
Address Line 2:

City: Seattle                                          State: WA            Zip:   98121
Phone Number w/ Area Code (206)              624-8300             Bar #   22168




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                                Electronic Case Filing Agreement




 By submitting this form, the undersigned understands and agrees to the following:

1. The CM/ECF system is to be used for filing and reviewing electronic documents, docket sheets, and
   notices.

2. The PACER password combined with your login, serves as your signature under Federal Rule of Civil
   Procedure 11 and 5(d)(3)(C). Therefore, you are responsible for protecting and securing this password
   against unauthorized use.

3. If you have any reason to suspect that your password has been compromised in any way, you are
   responsible for immediately notifying the court. Court staff will assess the risk and advise accordingly.

4. By signing this Registration Form, you consent to receive notice electronically and waive your right to
   receive notice by personal service or first-class mail pursuant to Federal Rule of Civil Procedure
   5(b)(2)(C), except with regard to service of a complaint and summons. This provision does include
   electronic notice of the entry of an order or judgment.

5. You will continue to access court information via the Western District of Washington's internet site or
   through the Public Access to Court Electronic Records (PACER) system. After January 27,2020, a PACER
   login and password, will be required to electronically file. You can register for PACER access at their web
   site: www.pacer.gov.

6. By completion of this registration, the undersigned agrees to abide by the rules and regulations in the
   most recent General Order, the Electronic Filing Procedures developed by the Clerk's Office, and any
   changes or additions that may be made to such administrative procedures in the future.


 Date Signed   8/18/2021 Signature s/ Akiva M. Cohen
                                                       (Pro Hac Vice applicant name)




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